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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

Alonzo Shavers, et al.,

             Plaintiffs,                      Case No. 2:21-cv-2120

      V.                                      Judge Michael H. Watson

The Ohio State University,                    Magistrate Judge Preston Deavers

             Defendant.



                              OPINION AND ORDER


       In this case, Alonzo Shavers and Kenneth McHone (collectively,

"Plaintiffs") sue The Ohio State University ("Ohio State") based on sexual abuse

they suffered at the hands of Dr. Strauss ("Strauss") while students at Ohio State.

Amend. Compl., EOF No. 14. They sue Ohio State under the foilowing theories

of Title IX liability:(1) heightened risk; and (2) hostile environment. Id.   HO

GS. It appears Plaintiffs base each Title IX theory on the abuse by Strauss, the

sexually charged environment at Larkins Mali, and Ohio State's

contemporaneous response—or lack thereof—when it learned about both. Id.

Ohio State moves to dismiss all claims. Mot. Dismiss, EOF No. 15. Plaintiffs

responded, Resp. EOF No. 18, and Ohio State replied. Reply, EOF No. 21.

      The Court GRANTS Ohio State's motion to dismiss for the reasons set

forth in the Opinions and Orders issued in Garrett and Ratllff. Case Nos. 2:18-

cv-692 and 2:19-cv-4746. The reasons requiring dismissal in those cases appiy
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equally to this case. See, e.g., Amend. Compl.          13. 27, 30,42-63, 93, 95,

 102, 104, 129-39, ECF No. 14.

        Plaintiffs also argue that the filing of the Garrett Complaint tolled their

statute of limitations under American Pipe & Constr. Co. v. Utah, 414 U.S. 538

(1974). Resp. 17-18, ECF No. 18. Given that the Court has already dismissed

the claims in Garrett as barred by the statute of limitations, this argument is

 unpersuasive.

        The Court hopes that, notwithstanding the Court's ruling on the statute of

 limitations issue and fact that Ohio State's voluntary settlement program has

 closed, Ohio State will stand by Its promise to "do the right thing," and continue

settlement discussions with Plaintiffs.

        The Clerk is DIRECTED to enter judgment for Ohio State and close the

case.


        IT IS SO ORDERED.

                                             /s/Michael H. Watson
                                          MICHAEL H. WATSON,JUDGE
                                          UNITED STATES DISTRICT COURT




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